                                                                           SO ORDERED.


                                                                           Dated: August 7, 2011




                                                                           Redfield T. Baum, Bankruptcy Judge
                                                                           _________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF ARIZONA

In re:                                              )       CHAPTER 7
                                                    )
MAZA, ARMANDO MANUEL                                )       CASE NO. 2:10-bk-02865-RTB
MAZA, DONDRA,                                       )
                                                    )       ORDER APPROVING PAYMENT
                Debtor(s)                           )       OF ADMINISTRATIVE FEES
                                                    )       AND EXPENSES

         DAVID M. REAVES, herein having filed the Trustee's Final Report and Application for Compensation and

Reimbursement of Expenses and, if required, due notice thereof having been given:

         IT IS ORDERED that the following fees and expenses are approved and shall be paid by the trustee in the

following amounts:

         PAYEE AND EXPLANATION                                                                      TOTAL

         CLERK, U.S. Bankruptcy Court                                                                  $0.00

         TRUSTEE, DAVID M. REAVES

                Fees Allowed                                                        $925.94
                Expenses Allowed                                                     $31.14          $957.08

         OTHER PRIOR CHAPTER ADMINISTRATIVE, U.S.
         TRUSTEE

                Fees Allowed                                                          $0.00
                Expenses Allowed                                                    $833.12          $833.12


         UNITED STATES TRUSTEE'S OFFICE                                                                $0.00

         OTHER                                                                                         $0.00



DATE                                                    THE HONORABLE REDFIELD T. BAUM
                                                        U.S. BANKRUPTCY JUDGE


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